Case 2:04-cv-03467-MMM-MAN Document 39 Filed 03/20/07 Page ‘Fy a oO

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MAR 20 2097

CATHY A. CATIERSON
U.S. COURT OF aPeEaLs

UNITED STATES COURT OF APPEALS

 

FOR THE NINTH CIRCUIT:
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HENRY A. WAXMAN; et al., No. 06-56337
Plaintiffs - Appellants, D.C. No. CV-04-03467-MMM
Central District of California,
Vv. Los Angeles

 

RECEWED
CLERK, U.S. DISTRICT COURT

 

TOMMY G. THOMPSON, Secretary,
Department of Health and Human ORDER MAR 22 2007
Services, .

 

 

 

_ | CENTRAL DISTRICTGF CALIFORNIA
Defendant - Appellee. BY DEPUTY
: ;

 

 

 

 

 

The appellants’ letter dated March 14, 2007 is construed as a motion for
voluntary dismissal and is granted. This appeal is dismissed. Fed. R. App. P.
42(b). A certified copy of this order sent to the district court shall act as and for

the mandate of this court.

 

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Clark ot Coe eon For the Court: .

. Z CATHY A. CATTERSON .
by: = lerk of the Court _

Deputy Clerk ~ .
This oattification wan the
mandate of the couft. -
. Teresa A. Haugen, Deputy
9th Cir. R. 27-7/Advisory Note to R. 27

promo 3.12 - and 9th Cir. R. 27-10 |
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